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December 19, 2022

VIA ECF

Hon. Lorna G. Schofield, U.S. District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re:     Global Gaming Philippines, LLC v. Razon, Jr., et al., 21 Cv. 2655 (LGS)(SN)/
        Motion for Leave to File Under Seal


Dear Judge Schofield:

On behalf of Plaintiff Global Gaming Philippines, LLC (“Plaintiff”), and pursuant to (a) the
Stipulated Confidentiality Order (ECF No. 95), and (b) confidentiality designations made by
counsel for Defendants, we respectfully request leave to redact portions of Plaintiff’s Response
to Defendants’ Pre-Motion Letters (ECF Nos. 314 and 315) (“Plaintiff’s Response”).

Plaintiff makes this application because counsel for Defendants have designated deposition
testimony which is referenced and described in Plaintiff’s Response as “Confidential” or “Highly
Confidential” pursuant to the Stipulated Confidentiality Order (ECF No. 95).

Paragraph 11 of the Confidentiality Order provides: “Documents may be filed under seal only as
provided in Judge Schofield’s Rule I.D.3,” which provides that the parties with an interest in
confidential treatment, here, the Defendants, bear the burden of persuasion. Plaintiff seeks leave
to file its Response under seal to comply with the Confidentiality Order.

Respectfully submitted,

/s/ Kaitlyn A. Crowe


cc:   All Counsel of record (via ECF)




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